	NO. 07-10-0480-CV

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL C

	FEBRUARY 17, 2011
	______________________________

	ALFONSO C. BRITO and the Unknown Heirs at Law of MARITZA BRITO,
                 In Re:  3414 101st Street, Lubbock, TX 79423,
                                      		
					Appellants
                                       
                                      V.
                                       
           BAC HOME LOANS SERVICES, LP formerly known as COUNTRYWIDE
                                  HOME LOANS,
                                  			Appellee
                        ______________________________

	FROM THE 237th DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2009-548,621; HON. LES HATCH, PRESIDING
	______________________________

	MEMORANDUM OPINION
	______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Alfonso C. Brito perfected this appeal on November 22, 2010.  The appellate record was due on or about January 7, 2011.  The district clerk filed a motion to extend the time to file the record on January 24, 2011, because appellant apparently failed to pay or make arrangements to pay for it, as required by Texas Rule of Appellate Procedure 35.3(b)(3).  By letter dated January 26, 2011, we ordered appellant to certify to this court, by February 7, 2011, that he had complied with rule of procedure 35.3(a)(1)(2) and 35.3(b)(3).  So too was he informed that failure to meet that deadline would result in the dismissal of his appeal.  Appellant has failed to so certify.  Nor have we received any request to postpone the dismissal date.  Consequently, we dismiss the appeal for want of prosecution and the failure to comply with our January 26th order. 

Per Curiam
